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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 SINGULAR COMPUTING LLC,

                Plaintiff,

 v.                                                C.A. No. 1:19-cv-12551-FDS

 GOOGLE LLC,                                       Hon. F. Dennis Saylor IV

                Defendant.



            DECLARATION OF MATTHIAS KAMBER IN SUPPORT OF
       DEFENDANT GOOGLE LLC’S OPPOSITION TO MOTION TO EXCLUDE
      CERTAIN TESTIMONY OF LAURA B. STAMM AND DR. MARTIN WALKER
                    REGARDING REASONABLE ROYALTY

       I, Matthias Kamber, declare and state as follows:
       1.      I am an attorney licensed to practice law in the Commonwealth of Massachusetts

and am admitted to practice before this Court. I am an attorney at the law firm of Paul Hastings,

LLP and counsel for Defendant Google LLC (“Google”) in the above-captioned action.

       2.      I submit this declaration in support of Google’s Opposition to Singular’s Motion

to Exclude Certain Testimony of Ms. Stamm and Dr. Walker. I have personal knowledge of the

facts stated herein and, if called as a witness, I could testify to them competently under oath.

       3.      Attached as Exhibit A is a true and correct copy of the Expert Report of Dr. Sunil

Khatri (“Khatri Report”), served on December 22, 2022. The Khatri Report provides no

indication that Dr. Khatri reviewed Google’s response to Interrogatory No. 16, whether by

citation to the Interrogatory in the body of the Khatri Report or by listing it among the materials

considered by Dr. Khatri in formulating his opinions.

       4.      Attached as Exhibit B is a true and correct copy of U.S. Patent No. 8,407,273.

       5.      Attached as Exhibit C is a true and correct copy of the Expert Report of

Dr. Martin Walker (“Walker Report”), served on March 3, 2023.
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       6.      Attached as Exhibit D is a true and correct copy of Singular’s Third Set of

Interrogatories to Google, served on April 7, 2021.

       7.      Google timely served its objections and responses to Singular’s Third Set of

Interrogatories to Google and subsequently supplemented those responses as additional

information came to light in discovery. Attached as Exhibit E is a true and correct copy of

Google’s Second Supplemental Responses & Objections to Singular’s Third Set of

Interrogatories, served on July 2, 2021. Google provided the relevant supplemental response to

Interrogatory No. 16 roughly two weeks before the deposition of any Google witness with

knowledge relevant to non-infringing alternatives, including all of Google’s Rule 30(b)(6)

designees.

       8.      Google continued to include the relevant language from its response to

Interrogatory No. 16 in subsequent supplemental responses to the interrogatory, all of which

were served before the close of fact discovery. For example, attached as Exhibit F is a true and

correct copy Google’s Sixth (and final) Supplemental Responses & Objections to Singular’s

Third Set of Interrogatories, served on July 15, 2021, which reiterated the relevant language

regarding alternative, non-infringing number formats.

       9.      After Google’s July 2, 2021 supplementation of its response to Interrogatory No.

16, Singular never sought further supplementation of, or moved to compel further responses to,

Interrogatory No. 16 on non-infringing alternatives.

       10.     Attached as Exhibit G is a true and correct copy of U.S. Patent No. 10,754,616.

       11.     Attached as Exhibit H is a true and correct copy of the GOOG-SING-00004735,

which Google produced on September 30, 2020.

       12.     Singular’s counsel deposed Google’s employees Dr. Norm Jouppi and Dr.

Nishant Patil on July 16, 2021.

       13.     Attached as Exhibit I are true and correct excerpts of Dr. Jouppi’s deposition

transcript. Dr. Jouppi was Google’s 30(b)(6) witness on Topic 7, “[a]ny patents or patent




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applications filed by Google that describe any aspect of the Accused Products; any continuations,

continuations-in-part, or divisions thereof; and any reissues or extensions thereof.”

       14.        Attached as Exhibit J are true and correct excerpts of Dr. Patil’s deposition

transcript. Dr. Patil was Google’s 30(b)(6) witness on Topic 42, “comparisons between the

accused TPU v2 and TPU v3 and alternatives for machine-learning training.”

       15.        Attached as Exhibit K is a true and correct copy of U.S. Patent No. 10,621,269,

produced as GOOG-SING-00019965. Google produced the ’269 Patent in its first production to

Singular on September 30, 2020 in the above-captioned action. The ’269 Patent claims priority to

a provisional patent application Google filed on May 17, 2017, U.S. Provisional Application No.

62/507,748. Attached as Exhibit P is a true and correct copy of U.S. Provisional Application No.

62/507,748.

       16.        Attached as Exhibit L is a true and correct copy of Singular’s First 30(b)(6)

Notice to Google, served on October 23, 2020.

       17.        During the depositions in this action, Singular did not use Google’s response to

Interrogatory No. 16 as an exhibit in any deposition of a Google witness nor ask questions about

Google’s disclosure of non-infringing number formats.

       18.        During the depositions in this action, Singular did not use the ’269 patent as an

exhibit in any deposition of a Google witness nor ask questions about the ’269 patent’s

disclosure of a 20-bit expanded bfloat number format with 11 bits of significand (mantissa).

       19.        Attached as Exhibit M is a true and correct copy of the Expert Report of

Mr. Philip Green (“Green Report”), served on December 22, 2022. Although Mr. Green

reviewed Google’s response to Interrogatory No. 16, he makes no reference in his report to the

alternative number formats disclosed in that response, including the bfloat20 alternative at issue

in this motion.

       20.        Attached as Exhibit N is a true and correct copy of the Expert Report of

Dr. Laura Stamm (“Stamm Report”), served on March 3, 2023.




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       21.     Although Google served Ms. Stamm and Dr. Walker’s expert reports on Singular

before the depositions of Singular’s experts, Dr. Khatri explained at his deposition that he was

not provided with a copy of either report.

       22.     Singular’s counsel deposed Ms. Laura Stamm on March 30, 2023. Attached as

Exhibit O are true and correct excerpts of Ms. Stamm’s deposition transcript (“Stamm

Deposition Transcript”).


       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge.


       Executed on May 19, 2023, at San Francisco, California.


                                                 /s/ Matthias Kamber
                                                 MATTHIAS KAMBER




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                                CERTIFICATE OF SERVICE

       I certify that this document is being filed through the Court’s electronic filing system,
which serves counsel for other parties who are registered participants as identified on the Notice
of Electronic Filing (NEF). Any counsel for other parties who are not registered participants are
being served by first class mail on the date of electronic filing.


                                                    /s/ Nathan R. Speed
                                                    Nathan R. Speed
